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6                              UNITED STATES DISTRICT COURT

7                                     DISTRICT OF NEVADA

8                                                 ***

9     WILLIAM LEWIS,                                       Case No. 3:19-cv-00625-GMN-CLB
10                                        Plaintiff,               ORDER
             v.
11
      DR. TED HANF, et al.,
12
                                     Defendants.
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     I.     DISCUSSION
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            The Court previously screened Plaintiff’s complaint in this action, dismissed the
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     complaint, and gave Plaintiff leave to file an amended complaint (ECF No. 6). Instead of
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     filing an amended complaint, Plaintiff now has filed an amended motion, claiming that he
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     has had to go more than 90 days without his pain medication, complaining of charges for
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     an x-ray on his shoulder, and seeking mediation and the Court’s assistance with the
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     treatment he is receiving by medical staff. (ECF No. 14). Plaintiff has not filed a complaint
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     stating a colorable claim regarding his medication or the x-ray or any other issue. This
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     case cannot proceed, and the Court cannot provide Plaintiff with any of the relief he seeks
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     to obtain in this motion unless and until Plaintiff files an amended complaint stating
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     colorable claims concerning the issues he raises in the amended motion.
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            The Court therefore defers any decision on the amended motion and orders
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     Plaintiff to file an amended complaint within 30 days of the date of this order.
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                                                       1
     Case 3:19-cv-00625-GMN-CLB Document 15 Filed 10/20/20 Page 2 of 2



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     II.    CONCLUSION
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            For the foregoing reasons, it is ordered that a decision on the amended motion
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     (ECF No. 14) is deferred.
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            It is further ordered that Plaintiff shall file an amended complaint within 30 days of
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     the date of this order.
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            It is further ordered that, if Plaintiff fails to file an amended complaint within 30 days
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                         order, this action will be dismissed for failure to state a colorable claim.
     of the date of this motion,
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            It is further ordered that the Clerk of the Court shall send to Plaintiff the approved
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     form for filing a § 1983 complaint, instructions for the same, and a copy of the screening
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     order (ECF No. 6). If Plaintiff chooses to file an amended complaint, he should use the
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     approved form and he must write the words “First Amended” above the words “Civil Rights
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     Complaint” in the caption.
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            DATED THIS 20thday of         October,   2020.
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                                                 UNITED STATES MAGISTRATE JUDGE
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